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____________________________________________________________________________
                                                    SO ORDERED,




                                                    Judge Jason D. Woodard
                                                    United States Bankruptcy Judge


       The Order of the Court is set forth below. The case docket reflects the date entered.
____________________________________________________________________________



                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT MISSISSIPPI

IN RE: MATTHEW SCOTT DIXON                                            CHAPTER 13


DEBTOR                                                                CASE NO. 19-13447-JDW

                 ORDER GRANTING MOTION TO MODIFY [DKT. # 30]

       This matter came before the Court upon the Motion of the Debtor, Matthew Scott Dixon,

requesting the issuance of an order directing modification of Chapter 13 Plan after confirmation and

no responses having been filed by the deadlines set by the Court, the Motion is due to be granted.

       IT IS, THEREFORE, ORDERED, that Debtor’s Confirmed Chapter 13 Plan (Dkt. #24)

is modified to surrender the collateral, and the claims of Alabama Housing Authority/Servisolutions

shall be removed from Section 3.1(a), and the trustee is ordered to cease payments to said Creditor

in regards to Claim #12-1 and Claim #13-1. The distribution to general unsecured creditors remains

the same.

                                      #ENDOFORDER#
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